     Case 2:19-ap-01383-SK    Doc 314 Filed 08/17/21 Entered 08/17/21 09:28:33                 Desc
                                Main Document Page 1 of 3



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                                                                     FILED & ENTERED
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4                                                                         AUG 17 2021
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                                                                     CLERK U.S. BANKRUPTCY COURT
                                                                     Central District of California
6                                                                    BY may        DEPUTY CLERK


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                           UNITED STATES BANKRUPTCY COURT
9
                             CENTRAL DISTRICT OF CALIFORNIA
10
                                  LOS ANGELES DIVISION
11
12   In re:                                        CHAPTER 7

13   Zetta Jet USA, Inc.                           Case No.: 2:17-bk-21386-SK
                                                   Adv No: 2:19-ap-01383-SK
14
                                              COURT’S MEMORANDUM OF DECISION
15
                                   Debtor(s). ON: 1) “MOTION TO DISMISS COUNTS I, II,
16                                            VI, VII, VIII, IX & X AND MOTION TO STRIKE
                                              COUNTS VIII & I [SIC] OF AMENDED
17                                            ADVERSARY COMPLAINT,” DOCKET #238,
18                                            FILED BY UNIVERSAL LEADER
                                              INVESTMENT LIMITED, GLOVE ASSETS
19                                            INVESTMENT LIMITED, AND TRULY
                                              GREAT GLOBAL LIMITED; AND 2)
20                                            “MOTION TO DISMISS COUNTS I, II, VII,
21                                            VIII, AND IX OF AMENDED ADVERSARY
                                              COMPLAINT FOR LACK OF PERSONAL
22                                            JURISDICTION, INSUFFICIENT SERVICE
                                              OF PROCESS AND FAILURE TO STATE A
23
                                              CLAIM,” DOCKET #239, FILED BY LI QI
24
                                                   Date: 8/11/21
25   Jonathan D. King                              Time: 9:00 a.m.
                                                   Courtroom: 1575
26                                Plaintiff(s),
27        v.

28
     Export Development Canada, Glove



                                                  -1-
     Case 2:19-ap-01383-SK      Doc 314 Filed 08/17/21 Entered 08/17/21 09:28:33            Desc
                                  Main Document Page 2 of 3



1    Assets Investment Limited, Minsheng
     Business Aviation Limited, Minsheng
2    Financial Leasing Co., Ltd., Li Qi, Truly
3    Great Global Limited, TVPX ARS, INC.,
     in its capacity as trustee to Zetta MSN
4    9688 Statutory Trust dated September 20,
     2016 (formed as Wyoming statutory trust),
5    Universal Leader Investment Limited,
     Wells Fargo Bank Northwest, N.A., in its
6
     capacity as trustee to Yuntian 3 Trust
7    dated September 20, 2016 (formed and
     administered in Utah) and its capacity as
8    trustee of Yuntian 4 Trust dated
     Septembe, Yuntian 3 Leasing Company
9
     Designated Activity Company, Yuntian 4
10   Leasing Company Designated Activity
     Company, Zetta MSN 9606 Statutory
11   Trust dated September 20, 2016 (formed
     as Wyoming statutory trust)
12
13
                                  Defendant(s).
14
15
     On 8/11/21 at 9:00 a.m., the Court heard a “Motion to Dismiss Counts I, II, VI, VII, VIII,
16
     IX & X and Motion to Strike Counts VIII & I [sic] of Amended Adversary Complaint”
17
     (Motion), Docket #238, filed by Universal Leader Investment Limited, Glove Assets
18
     Investment Limited, and Truly Great Global Limited (collectively UL/GA/TG).
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     Appearances were as noted on the record. All parties were given an opportunity to be
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     heard. At the conclusion of the 8/11/21 hearing, the Court took the Motion under
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     submission.
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     Case 2:19-ap-01383-SK          Doc 314 Filed 08/17/21 Entered 08/17/21 09:28:33       Desc
                                      Main Document Page 3 of 3



1    Also on calendar for 8/11/21 at 9:00 a.m. was a “Motion to Dismiss Counts I, II, VII, VIII,
2    and IX of Amended Adversary Complaint for Lack of Personal Jurisdiction, Insufficient
3    Service of Process and Failure to State a Claim” (Li Qi Motion), Docket #239, filed by Li
4    Qi. The Court noted that Li Qi is named as a defendant in five counts that are at issue
5    in UL/GA/TG’s Motion and continued the hearing on the Li Qi Motion to 8/18/21 at 9:00
6    a.m.
7
8    A copy of the Court’s Memorandum of Decision regarding the Motion and the Li Qi
9    Motion is attached hereto.
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            Date: August 17, 2021
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